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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                       –Southern Division–



 CONSTANCE COLLINS, et al.;

      Plaintiffs,                               Case No. 1:20-cv-01225
              v.

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.;

      Defendants.


                                      ORDER

       The Joint Motion for Extension of Time to File Opposition and Reply Regarding Plaintiffs’

Motion for Summary Judgment, And Defendants’ Motion for Summary Judgment Related Briefing,
                                        10th
having been considered, it is this ______________ day of January, 2022, hereby GRANTED. It is

ORDERED that:


       The Defendants shall file their Opposition to the Plaintiffs’ Motion for Summary Judgment by

January 26, 2022, and any Cross-Motion for Summary Judgment by January 26, 2022. The Plaintiffs

shall file any Reply to the Defendants’ Opposition to the Plaintiffs’ Motion for Summary Judgment

by March 14, 2022, and any Opposition to the Defendants’ Motion for Summary Judgment by

March 14, 2022. The Defendants shall file any Reply to the Plaintiffs’ Opposition to the Defendants’

Motion for Summary Judgment by March 28, 2022.



                                                           /S/
                                      Judge PAULA XINIS
                                       United States District Court for the
                                      District of Maryland
